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                             UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION (JEFFERSON CITY)

 In re:                                                         Case No. 08-20131-drd-13
          JERRY LEE PIRTLE

                      Debtor(s)


  CHAPTER 13 STANDING TRUSTEE’S AMENDED FINAL REPORT AND ACCOUNT

        Richard V. Fink Trustee, chapter 13 trustee, submits the following Final Report and Account of
 the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


          1) The case was filed on 02/04/2008.

          2) The plan was confirmed on 06/26/2008.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 10/26/2012.

          4) The trustee filed action to remedy default by the debtor in performance under the plan on
 NA .

          5) The case was completed on 01/29/2013.

          6) Number of months from filing to last payment: 60.

          7) Number of months case was pending: 66.

          8) Total value of assets abandoned by court order: NA .

          9) Total value of assets exempted: $89,350.00.

          10) Amount of unsecured claims discharged without payment: $23,639.28.

          11) All checks distributed by the trustee relating to this case have cleared the bank .



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 Receipts:

            Total paid by or on behalf of the debtor            $21,255.00
            Less amount refunded to debtor                           $0.00

 NET RECEIPTS:                                                                                 $21,255.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $2,600.00
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                      $1,051.96
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,651.96

 Attorney fees paid and disclosed by debtor:                   $400.00


 Scheduled Creditors:
 Creditor                                          Claim       Claim          Claim      Principal      Int.
 Name                                  Class     Scheduled    Asserted       Allowed       Paid         Paid
 AFNI INC                       Unsecured            138.00         NA             NA          0.00       0.00
 AMERICAN ARBIT RAT ION ASSOCIA Secured                 NA          NA             NA          0.00       0.00
 BECKET & LEE LLP               Unsecured          6,682.50    5,643.65       5,643.65     2,116.80       0.00
 COMMERCE BANK NA               Secured           15,056.00   15,039.59      15,039.59         0.00       0.00
 DISCOVER BANK                  Unsecured          7,088.50    7,088.50       7,088.50     2,658.73       0.00
 ECAST SET T LEMENT CORP        Unsecured            400.00      200.00         200.00        75.01       0.00
 FIRST COMMUNIT Y BANK          Secured           34,710.00         NA             NA          0.00       0.00
 JAMS                           Secured                 NA          NA             NA          0.00       0.00
 JPMORGAN CHASE BANK NA         Secured           66,721.00   66,428.83      66,428.83         0.00       0.00
 NAT IONAL ARBIT RAT ION FORUM Secured                  NA          NA             NA          0.00       0.00
 PORT FOLIO RECOVERY ASSOCIAT E Unsecured          9,498.80    9,484.77       9,484.77     3,557.48       0.00
 PRA RECEIVABLES MANAGEMENT Unsecured             15,189.59   15,189.59      15,189.59     5,697.21       0.00
 US DEPART MENT OF EDUCAT ION Unsecured            7,739.00    7,641.99       7,641.99     2,866.33       0.00
 US DEPART MENT OF EDUCAT ION Unsecured            1,766.00    1,683.59       1,683.59       631.48       0.00




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  Summary of Disbursements to Creditors:
                                                                  Claim          Principal           Interest
                                                               Allowed               Paid               Paid
  Secured Payments:
        Mortgage Ongoing                                   $81,468.42               $0.00              $0.00
        Mortgage Arrearage                                      $0.00               $0.00              $0.00
        Debt Secured by Vehicle                                 $0.00               $0.00              $0.00
        All Other Secured                                       $0.00               $0.00              $0.00
  TOTAL SECURED:                                           $81,468.42               $0.00              $0.00

  Priority Unsecured Payments:
          Domestic Support Arrearage                             $0.00              $0.00              $0.00
          Domestic Support Ongoing                               $0.00              $0.00              $0.00
          All Other Priority                                     $0.00              $0.00              $0.00
  TOTAL PRIORITY:                                                $0.00              $0.00              $0.00

  GENERAL UNSECURED PAYMENTS:                              $46,932.09         $17,603.04               $0.00

 Disbursements:

          Expenses of Administration                              $3,651.96
          Disbursements to Creditors                             $17,603.04

 TOTAL DISBURSEMENTS :                                                                        $21,255.00


         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
 estate has been fully administered, the foregoing summary is true and complete, and all administrative
 matters for which the trustee is responsible have been completed. The trustee requests a final decree be
 entered that discharges the trustee and grants such other relief as may be just and proper.

 Dated: 08/13/2013
                                                By: /s/ Richard V. Fink Trustee
                                                                          Trustee
 STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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